Case 2:04-cv-02009-SHI\/|-dkv Document 43 Filed 07/11/05 Page 1 of 3 Page|D 71

 

Hs.Eo ev §§ D c
IN THE UNITED STATES DISTRICT coURT ~ ~
FoR THE WESTERN DISTRlCT OF TENNESSEE 05 JUL | l PH
WESTERN DIVISION ‘" ‘\‘7
ClEHé u.s. usi tm%uwgq m
vICKIE L. JONES, W OF tit t€EAAT°;qg
Plaimiff,
vS. No. 04-2009-Ma/v
WESLEY NEUROLOGY,
Defendant.

 

ORDER DISMISSING CASE

 

This case came on to be heard upon the entire record herein, based upon all of Which

IT IS ORDERED that this case should be, and is hereby, DISMISSED, with prejudicel

IT ls So oRDERED this l /K day ofJuly, 2005.

w%m

SAMUEL H. MAYS
UNITED STATES DISTRICT JUDGE

 

APPROVED AS TO FORM:

Randall B. Tolley

242 Poplar Avenue

Memphis, Tennessee 3 8103
Attorney for Plaintiff /j?/

H»'>Zé/Z{
/

 

T-TJS document entered or‘. tho]docket Sheet in com Hance
wm nme 53 and/or 29{3) FHoP on _l@;Q.é

Case 2:04-cv-02009-SHI\/|-dkv Document 43 Filed 07/11/05 Page 2 of 3 Page|D 72

Armstrong Allen, PLLC
80 Monroe, Suite 70

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CV-02009 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed

 

 

Henry C. Shelton

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

Memphis7 TN 38103--246

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

Memphis7 TN 38103

Vickie L. J ones
1093 Lorraine St.
Mphs7 TN 38122

Honorable Samuel Mays
US DISTRICT COURT

